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    PS8
    (8/88)
                               UNITED STATES DISTRICT COURT
                                            for
                                        NEW MEXICO

     U.S.A. vs Michael Pohl                                   Docket No. 1:16CR00286-001




                                 Petition for Action on Conditions of Pretrial Release

    COMES NOW Keary Fenstermacher PRETRIAL SERVICES OFFICER presenting an official report upon the
    conduct of Michael Pohl who was placed under pretrial release supervision by the Honorable Laura Fashing
    United States Magistrate Judge, sitting in the court at Albuquerque New Mexico, on August 24, 2021,
    with conditions which included the following:

1. (7)(t): The defendant must enter and successfully complete the Hoy Recovery Program in Velarde, NM.

      RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
   On August 26, 2021, the defendant was released from federal custody and transported to the Hoy Recovery Program
   located in Velarde, New Mexico, where he commenced his 90-day inpatient treatment placement. On
   September 17, 2021, at approximately 8:00am, the United States Probation Office was informed about the
   defendant’s termination from the program for violating program policies. He was discharged for violating
   policies surrounding the suboxone medication assisted treatment program by not taking his medication as
   prescribed and diverting his medication to other clients within the program.



   PRAYING THAT THE COURT WILL ORDER A WARRANT FOR THE DEFENDANT'S ARREST

                                                      I declare under penalty of perjury that the foregoing is true and
                                                      correct.

                                                      Executed on: September 17, 2021




                                                             Keary Fenstermacher
                                                             Senior United States Probation Officer

                                                             Place ; Albuquerque, New Mexico
